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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION

ALLIANCE LAUNDRY SYSTEMS LLC,

         Plaintiff,

v.

TRUDY ADAMS, et al.,

        Defendants
--------------------------------------------------
TRUDY ADAMS, JOHN “CLAY”
WILLIAMS,
                                                     Case No.: 23-cv-22130-MCR-ZCB
         Defendant/Counterclaim
         Plaintiffs,

v.

ALLIANCE LAUNDRY SYSTEMS LLC,
GREG REESE, MIKE HAND and
SAMANTHA BAKER,

         Plaintiff/Counterclaim
         Defendants and Third-Party
         Defendants


      DECLARATION OF MELINDA S. GIFTOS IN SUPPORT OF ALLIANCE’S
                  MOTION FOR SUMMARY JUDGMENT


         I, Melinda S. Giftos, hereby declare and state as follows:




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    1. I am attorney at Husch Blackwell LLP. I represent Alliance Laundry

         Systems LLC (“Plaintiff”) and Greg Reese, Mike Hand, and Samantha

         Baker (the “Third-Party Defendants”) in this lawsuit. I make this

         Declaration based on personal knowledge and in support of Alliance’s

         Motions for Summary Judgment.

    2.      Attached hereto as Exhibit 001 is a true and correct copy of Ex. 3 to the

            January 14, 2025 Deposition of Trudy Adams at Tr. 72:11-73:5.

    3.      Attached hereto as Exhibit 002 is a true and correct copy Ex. 4 to the

            January 14, 2025 Deposition of Trudy Adams and at Tr. 72:11-73:5.

    4.      Attached hereto as Exhibit 003 is a true and correct copy of Ex. 19 to

            the January 14, 2025 Deposition of Trudy Adams at Tr. 196:25-198:2.

    5.      Attached hereto as Exhibit 004 is a true and correct copy of Ex. 20 to

            the January 14, 2025 Deposition of Trudy Adams at Tr. 201:4-14.

    6.      Attached hereto as Exhibit 005 is a true and correct copy of Laundrylux

            business records produced by Defendants in response to Alliance

            discovery requests, bearing Bates Stamp Nos. JOINTD0030568-69

    7.      Attached hereto as Exhibit 006 is a true and correct copy of Ex. 22 to

            the January 14, 2025 Deposition of Trudy Adams at Tr. 213:10-11.

    8.      Attached hereto as Exhibit 007 is a true and correct copy of Ex. 25 to

            the January 14, 2025 Deposition of Trudy Adams at Tr. 224:6-10.


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    9.      Attached hereto as Exhibit 008 is a true and correct copy of Ex. 6 to the

            January 14, 2025 Deposition of Trudy Adams at Tr. 95:16-96:12.

    10. Attached hereto as Exhibit 009 is a true and correct copy of Ex. 4 to the

            January 17, 2025 Deposition of Jason Fleck at Tr. 67:18-21.

    11. Attached hereto as Exhibit 010 is a true and correct copy of Laundrylux

            business records produced by Defendants in response to Alliance

            discovery requests, bearing Bates Stamp Nos. JOINTD0030552-61.

    12. Attached hereto as Exhibit 011 is a true and correct copy of Ex. 23 to

            the January 14, 2025 Deposition of Trudy Adams at Tr. 221: 1-5.

    13. Attached hereto as Exhibit 012 is a true and correct copy of Ex. 18 to

            the January 10, 2025 Deposition of Craig Dakauskas at Tr. 339:24-

            340:3.

    14. Attached hereto as Exhibit 013 is a true and correct copy Ex. 27 to the

            January 14, 2025 Deposition of Trudy Adams at Tr. 229:24 – 230:2.

    15. Attached hereto as Exhibit 014 is a true and correct copy Ex. 29 to the

            January 14, 2025 Deposition of Trudy Adams at Tr. 244:9-12.

    16. Attached hereto as Exhibit 015 is a true and correct copy of Ex. 8 to the

            January 14, 2025 Deposition of Trudy Adams at Tr. 111:8-11.

    17. Attached hereto as Exhibit 016 is a true and correct copy of Ex. 57 to

            the January 17, 2025 Deposition of Jason Fleck at Tr. 215:14-18.


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    18. Attached hereto as Exhibit 017 is a true and correct copy of Laundrylux

            business records produced by Defendants in response to Alliance

            discovery requests, bearing Bates Stamp No. JOINTD0019292.

    19. Attached hereto as Exhibit 018 is a true and correct copy of Laundrylux

            business records produced by Defendants in response to Alliance

            discovery requests, bearing Bates Stamp No. JOINTD0024555.

    20. Attached hereto as Exhibit 019 is a true and correct copy of Ex. 30 to

            the January 14, 2025 Deposition of Trudy Adams at Tr. 246:5-6.

    21. Attached hereto as Exhibit 020 is a true and correct copy of Ex. 32 to

            the January 14, 2025 Deposition of Trudy Adams at Tr. 255:8-9.

    22. Attached hereto as Exhibit 021 is a true and correct copy of Ex. 33 to

            the January 14, 2025 Deposition of Trudy Adams at Tr. 257:12-13.

    23. Attached hereto as Exhibit 022 is a true and correct copy of Ex. 17 to

            the December 20, 2024 Deposition of John “Clay” Williams at Tr. 174:5-

            9.

    24. Attached hereto as Exhibit 023 is a true and correct copy of Ex. 14 to

            the December 20, 2024 Deposition of John “Clay” Williams at Tr.

            167:19-23.

    25. Attached hereto as Exhibit 024 is a true and correct copy of Ex. 18 to

            the December 20, 2024 Deposition of John “Clay” Williams at Tr. 176:23


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            – 24.

    26. Attached hereto as Exhibit 025 is a true and correct copy of Ex. 19 to

            the December 20, 2024 Deposition of John “Clay” Williams at Tr.

            178:11-12.

    27. Attached hereto as Exhibit 026 is a true and correct copy of Ex. 20 to

            the December 20, 2024 Deposition of John “Clay” Williams at Tr.

            180:18-19.

    28. Attached hereto as Exhibit 027 is a true and correct copy of Ex. 52 to

            the January 17, 2025 Deposition of Jason Fleck at Tr. 205:21-25.

    29. Attached hereto as Exhibit 028 is a true and correct copy of Ex. 24 to

            the December 20, 2024 Deposition of John “Clay” Williams at Tr. 198:

            11-24.

    30. Attached hereto as Exhibit 029 is a true and correct copy of Ex. 31 to

            the January 14, 2025 Deposition of Trudy Adams at Tr. 253:4-6.

    31. Attached hereto as Exhibit 030 is a true and correct copy of Laundrylux

            business records produced by Defendants in response to Alliance

            discovery requests, bearing Bates Stamp No. TA000290 and

            DEF050705.

    32. Attached hereto as Exhibit 031 are true and correct copies of select

            portions of the December 20, 2024 Deposition Testimony of John “Clay”


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            Williams.

    33. Attached hereto as Exhibit 032 is a true and correct copy of Ex. 19 from

            to the January 17, 2025 Deposition of Jason Fleck at Tr. 112:4-8.

    34. Attached hereto as Exhibit 033 is a true and correct copy of Ex. 29 to

            the December 20, 2024 Deposition of John “Clay” Williams at Tr.

            211:14-212:19.

    35. Defendants did not retain an expert to rebut Alliance’s expert, Mark

            Lanterman.

    36. Attached hereto as Exhibit 034 are true and correct copies of select

            portions of the January 10, 2025 Deposition Testimony of Craig

            Dakauskas.

    37. Attached hereto as Exhibit 035 is a true and correct copy of Laundrylux

            business records produced by Defendants in response to Alliance

            discovery requests, bearing Bates Stamp Nos. DEF026381—03,

            DEF026388.

    38. Attached hereto as Exhibit 036 is a true and correct copy of Laundrylux

            business records produced by Defendants in response to Alliance

            discovery requests, bearing Bates Stamp No. JOINTD0017875.

    39. Attached hereto as Exhibit 037 are true and correct copies of select

            portions of the January 14, 2025 Deposition Testimony of Trudy Adams.


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    40. Attached hereto as Exhibit 038 is a true and correct copy of Ex. 14 to

            the January 14, 2025 Deposition of Trudy Adams at Tr. 161:16-24.

    41. Attached hereto as Exhibit 039 is a true and correct copy of Laundrylux

            business records produced by Defendants in response to Alliance

            discovery requests, bearing Bates Stamp No. DEF047342.

      42. Attached hereto as Exhibit 040 is a true and correct copy of Laundrylux

             business records produced by Defendants in response to Alliance

             discovery requests, bearing Bates Stamp No. DEF046739.

      43. Attached hereto as Exhibit 041 is a true and correct copy of Laundrylux

             business records produced by Defendants in response to Alliance

             discovery requests, bearing Bates Stamp No. DEF047343.

    44. Attached hereto as Exhibit 042 is a true and correct copy of Ex. 31 to

            the December 20, 2024 Deposition of John “Clay” Williams at Tr.

            220:19-23.

    45. Attached hereto as Exhibit 043 is a true and correct copy of Ex. 40 to

            the December 20, 2024 Deposition of John “Clay” Williams at Tr.

            236:16-20.

    46. Attached hereto as Exhibit 044 is a true and correct copy of Laundrylux

            business records produced by Defendants in response to Alliance

            discovery requests, bearing Bates Stamp Nos. DEF028965, DEF108312,


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            and DEF029023.

    47. Attached hereto as Exhibit 045 are true and correct copies of select

            portions of the January 31, 2025 Deposition Testimony of Trey Stein.

    48. Attached hereto as Exhibit 046 are true and correct copies of select

            portions of the January 17, 2025 Deposition Testimony of Jason Fleck.

    49. – Attached hereto as Exhibit 047 are true and correct copies of select

            portions of the February 6, 2025 Deposition Testimony of Greg Reese.

    50. Attached hereto as Exhibit 048 are true and correct copies of select

            portions of the January 7, 2025 Deposition Testimony of Samantha

            Baker.

    51. Attached hereto as Exhibit 049 are true and correct copies of select

            portions of the January 8, 2025 Deposition Testimony of Mike Hand.

    52. Attached hereto as Exhibit 050 is a true and correct copy of Ex. 12 to

            the January 14, 2025 Deposition of Trudy Adams at 144:9-15.

    53. Attached hereto as Exhibit 051 is a true and correct copy of Ex. 15 to

            the January 14, 2025 Deposition of Trudy Adams at176:14-22.

    54. Attached hereto as Exhibit 052 is a true and correct copy of Ex. 18 to

            the January 14, 2025 Deposition of Trudy Adams at181:23 -182:7.

    55. Attached hereto as Exhibit 053 is a true and correct copy of Ex. 6 to the

            December 20, 2024 Deposition of John “Clay” Williams at 125:25-


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            126:10.

    56. Attached hereto as Exhibit 054 is a true and correct copy of Ex. 9 to the

            December 20, 2024 Deposition of John “Clay” Williams at 152:1-8.

    57. Attached hereto as Exhibit 055 is a true and correct copy of Ex. 10 to

            the December 20, 2024 Deposition of John “Clay” Williams at 153:12-

            154:21.

    58. Attached hereto as Exhibit 056 is a true and correct copy of Ex. 11 to

            the December 20, 2024 Deposition of John “Clay” Williams at 153:17-

            154:21.

    59. Attached hereto as Exhibit 057 is a true and correct copy of Ex. 16 to

            the January 17, 2025 Deposition of Jason Fleck at 100:15 – 101:1.

    60. Attached hereto as Exhibit 058 is a true and correct copy of Ex. 5 to the

            January 7, 2025 Deposition of Samantha Baker at 124:3-21.

    61. Attached hereto as Exhibit 059 is a true and correct copy of Ex. 6 to the

            January 7, 2025 Deposition of Samantha Baker at 130:7-22.

    62. Attached hereto as Exhibit 060 is a true and correct copy of Ex. 38 to

            the January 7, 2025 Deposition of Greg Reese at 273:5-20.

    63. Attached hereto as Exhibit 061 is a true and correct copy of Greg

            Reese’s Answers to Counterclaim Plaintiffs’ First Combined Set of

            Interrogatories and Document Requests dated April 3, 2024.


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    64. Attached hereto as Exhibit 062 is a true and correct copy of Samantha

            Baker’s Answers to Counterclaim Plaintiffs’ First Combined Set of

            Interrogatories and Document Requests dated April 3, 2024.

    65. Attached hereto as Exhibit 063 is a true and correct copy of Mike

            Hand’s Answers to Counterclaim Plaintiffs’ First Combined Set of

            Interrogatories and Document Requests dated April 3, 2024.

    66. Attached hereto as Exhibit 064 is a true and correct copy of Mike

            Hand’s Supplemental Answer to Interrogatory No. 17 dated May 24,

            2024.

    67. Attached hereto as Exhibit 065 is a true and correct copy of Laundrylux

            business records produced by Defendants in response to Alliance

            discovery requests, bearing Bates Stamp No. DEF162418.

    68. Attached hereto as Exhibit 066 is a true and correct copy of Laundrylux

            business records produced by Defendants in response to Alliance

            discovery requests, bearing Bates Stamp No.DEF162629.

    69. Attached hereto as Exhibit 067 is a true and correct copy of Laundrylux

            business records produced by Defendants in response to Alliance

            discovery requests, bearing Bates Stamp No. LL00009966.

    70. Attached hereto as Exhibit 068 is a true and correct copy of Laundrylux

            business records produced by Defendants in response to Alliance


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            discovery requests, bearing Bates Stamp No. JOINTD0024047.

    71. Attached hereto as Exhibit 069 is a true and correct copy of Laundrylux

            business records produced by Defendants in response to Alliance

            discovery requests, bearing Bates Stamp No. JOINTD0011149.

    72. Attached hereto as Exhibit 070 is a true and correct copy of Laundrylux

            business records produced by Defendants in response to Alliance

            discovery requests, bearing Bates Stamp No. JOINTD0017503.

    73. Attached hereto as Exhibit 071 is a true and correct copy of Laundrylux

            business records produced by Defendants in response to Alliance

            discovery requests, bearing Bates Stamp No. DEF106219.

    74. Attached hereto as Exhibit 072is a true and correct copy of Laundrylux

            business records produced by Defendants in response to Alliance

            discovery requests, bearing Bates Stamp No. DEF106224.

         I declare under penalty of perjury under the law of the United States that

the foregoing is true and correct.

         Executed on: March 14, 2025 in Leon County, Florida.



                                              /s/   Melinda S. Giftos

                                                    Melinda S. Giftos




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